Case 2:20-cv-00365-JRS-DLP Document 15 Filed 07/16/20 Page 1 of 5 PageID #: 895




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF INDIANA


 WESLEY IRA PURKEY,                         CIVIL ACTION
        Petitioner,
                                            Case No.: 2:20-cv-00365-JRS-DLP
        v.
                                            DEATH PENALTY CASE
                                            EXECUTION SCHEDULED FOR
 WARDEN OF USP TERRE                        July 16, 2019
 HAUTE, UNITED STATES OF                    4:30 a.m. EST
 AMERICA,
        Respondents.                        NOTICE OF APPEAL



       Wesley Ira Purkey hereby gives notice of his appeal to the United States
 Court of Appeals for the Seventh Circuit from the final judgment filed in this action
 on July 16, 2019, dispensing of the claim and request for a stay of execution.
       Respectfully submitted this 16th day of July, 2020.

                                        Rebecca E. Woodman
                                        Attorney at Law, L.C.
                                        1263 W. 72nd Ter.
                                        Kansas City, Missouri 64114
                                        (785) 979-3672
                                        Email: rewlaw@outlook.com

                                        By s/Rebecca E. Woodman
                                        Counsel for Petitioner
Case 2:20-cv-00365-JRS-DLP Document 15 Filed 07/16/20 Page 2 of 5 PageID #: 896




                            CERTIFICATE OF SERVICE
        I hereby certify that on this 16th day of July, 2020, I electronically transmitted
 the foregoing Notice of Appearance to the Clerk’s office using the CM/ECF System
 for filing.
        I further certify that all participants in the case are registered CM/ECF users
 and that service will be accomplished by the CM/ECF system.


 By s/Rebecca E. Woodman




                                             2
Case 2:20-cv-00365-JRS-DLP Document 15 Filed 07/16/20 Page 3 of 5 PageID #: 897




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF INDIANA


 WESLEY IRA PURKEY,                           CIVIL ACTION
        Petitioner,
                                              Case No.:
        v.
                                              DEATH PENALTY CASE
                                              EXECUTION SCHEDULED FOR
 WARDEN OF USP TERRE                          July 16, 2019
 HAUTE, UNITED STATES OF                      4:30 a.m. EST
 AMERICA,
        Respondents.



                   PETITIONER’S DOCKETING STATEMENT

       Pursuant to Seventh Circuit Rule 3(c)(1) Petitioner submits this docketing

 statement for his appeal.

                   JURISDICTION OF THE DISTRICT COURT

       The District Court had jurisdiction over this matter under 28 U.S.C. § 2241

 and 28 U.S.C. § 1651.

                  JURISDICTION OF THE COURT OF APPEALS

       This appeal is taken from the order of the United States District Court for the

 Southern District of Indiana on July 16, 2020 denying the motion for stay. The

 Court of Appeals has jurisdiction pursuant F.R.A.P. 8, 28 U.S.C. § 2241 and 28

 U.S.C. § 1651 (all writs), and 28 U.S.C. § 1292. The notice of appeal was filed on

 July 16, 2020.
                                          3
Case 2:20-cv-00365-JRS-DLP Document 15 Filed 07/16/20 Page 4 of 5 PageID #: 898




             PRIOR or RELATED APPEALATE PROCEEDINGS

       Pursuant to the Seventh Circuit Rule 22(a), Wes Purkey, filed an appeal

 before the U.S. Court of Appeals for the Seventh Circuit. See Purkey v. United

 States, No. 19-3318, 2020 WL 3958442 (7th Cir. July 13, 2020) (denying

 Respondent-Appellees’ motion for reconsideration).



       Respectfully submitted this 16th day of July, 2020.

                                       Rebecca E. Woodman
                                       Attorney at Law, L.C.
                                       1263 W. 72nd Ter.
                                       Kansas City, Missouri 64114
                                       (785) 979-3672
                                       Email: rewlaw@outlook.com

                                       By s/Rebecca E. Woodman
                                       Counsel for Petitioner




                                         4
Case 2:20-cv-00365-JRS-DLP Document 15 Filed 07/16/20 Page 5 of 5 PageID #: 899




                            CERTIFICATE OF SERVICE
        I hereby certify that on this 16th day of July, 2020, I electronically transmitted
 the foregoing Notice of Appearance to the Clerk’s office using the CM/ECF System
 for filing.
 By s/Rebecca E. Woodman




                                             5
